          Case 1:18-cv-02921-JMF Document 199 Filed 07/05/18 Page 1 of 3


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------------------- X
                                                                              X:                  07/05/2018
STATE OF NEW YORK, et al.,                                                      :
                                                                                :
                                    Plaintiff,                                  :
                                                                                :     18-CV-2921 (JMF)
                  -v-                                                           :
                                                                                :
UNITED STATES DEPARTMENT OF COMMERCE, et al.,                                   :
                                                                                :
                                    Defendants.                                 :
                                                                                :
------------------------------------------------------------------------------- :
                                                                                :
NEW YORK IMMIGRATION COALITION, et al.,                                         :
                                                                                :
                                    Plaintiff,                                  :
                                                                                :     18-CV-5025 (JMF)
                  -v-                                                           :
                                                                                :
UNITED STATES DEPARTMENT OF COMMERCE, et al.,                                   :           ORDER
                                                                                :
                                    Defendants.                                 :
                                                                                :
------------------------------------------------------------------------------- X

JESSE M. FURMAN, United States District Judge:

        For the reasons stated on the record at the conference held on July 3, 2018, Plaintiffs’
request for an order directing Defendants to complete the administrative record and authorizing
extra-record discovery is GRANTED. As discussed, the following deadlines shall apply unless
and until the Court says otherwise:

                By July 23, 2018, Defendants shall produce the complete record, a privilege log,
                 and initial disclosures.

                By September 7, 2018, Plaintiffs shall disclose their export reports.

                By September 21, 2018, Defendants shall disclose their expert reports, if any.

                By October 1, 2018, Plaintiffs shall disclose their rebuttal expert reports, if any.

                Fact and expert discovery will close on October 12, 2018.
         Case 1:18-cv-02921-JMF Document 199 Filed 07/05/18 Page 2 of 3



         The deadlines for initial production of documents, interrogatories, and deposition of fact
witnesses may be extended by the written consent of all parties without application to the Court,
provided that all fact discovery is completed by October 12, 2018. The parties should not
anticipate extensions of the deadlines for fact discovery and expert discovery, however.
Relatedly, the parties should not make a unilateral decision to stay or halt discovery (on the basis
of settlement negotiations or otherwise) in anticipation of an extension. If something unforeseen
arises, a party may seek a limited extension of the foregoing deadlines by letter-motion filed on
ECF. Any such motion must be filed before the relevant deadline and must explain why, despite
the parties’ due diligence, discovery could not be completed by the relevant deadline.

        The parties shall conduct discovery in accordance with the Federal Rules of Civil
Procedure and the Local Rules of the Southern District of New York. In the case of discovery
disputes, parties should follow Local Civil Rule 37.2 with the following modifications. Any
party wishing to raise a discovery dispute with the Court must first confer in good faith with the
opposing party, in person or by telephone, in an effort to resolve the dispute. If this meet-and-
confer process does not resolve the dispute, the party shall, in accordance with the Court’s
Individual Rules and Practices in Civil Cases, promptly file a letter-motion, no longer than three
pages, explaining the nature of the dispute and requesting an informal conference. Any letter-
motion seeking relief must include a representation that the meet-and-confer process occurred
and was unsuccessful. Any opposition to a letter-motion seeking relief shall be filed as a letter,
not to exceed three pages, within three business days. Counsel should be prepared to discuss
with the Court the matters raised by such letters, as the Court will seek to resolve discovery
disputes quickly, by order, by conference, or by telephone. Counsel should seek relief in
accordance with these procedures in a timely fashion; if a party waits until near the close of
discovery to raise an issue that could have been raised earlier, the party is unlikely to be granted
the relief that it seeks, let alone more time for discovery.

        All motions and applications shall be governed by the Federal Rules of Civil Procedure,
the Local Rules of the Southern District of New York, and the Court’s Individual Rules and
Practices (available at http://nysd.uscourts.gov/judge/Furman).

        Finally, the parties shall appear for a status conference on September 14, 2018, at 2:00
p.m., in Courtroom 1105 of the Thurgood Marshall Courthouse, 40 Centre Street, New York,
New York. Absent leave of Court, by Thursday of the week prior to that conference (or any
other conference), the parties shall file on ECF a joint letter, not to exceed three (3) pages,
regarding the status of the case. The letter should include the following information in separate
paragraphs:

       (1)     A statement of all existing deadlines, due dates, and/or cut-off dates;

       (2)     A brief description of any outstanding motions;

       (3)     A brief description of the status of discovery and of any additional discovery that
               needs to be completed;

                                                  2
         Case 1:18-cv-02921-JMF Document 199 Filed 07/05/18 Page 3 of 3


       (6)    A statement of the anticipated length of trial;

       (7)    A statement of whether the parties anticipate filing motions for summary
              judgment; and

       (8)    Any other issue that the parties would like to address at the pretrial conference or
              any information that the parties believe may assist the Court in advancing the case
              to resolution.

       This Order may not be modified or the dates herein extended, except by further Order of
this Court for good cause shown. Any application to modify or extend the dates herein shall be
made in a written application in accordance with Court’s Individual Rules and Practices for Civil
Cases and shall be made no fewer than two (2) business days prior to the expiration of the date
sought to be extended. Absent exceptional circumstances, extensions will not be granted after
deadlines have already passed.

       SO ORDERED.

Dated: July 5, 2018
       New York, New York




                                                3
